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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

UNITED STATES OF AMERICA,              )
                                       )
            Plaintiff,                 )
                                       )
      vs.                              )      Case No. 4:00CR547 CDP
                                       )
ROBERT FRANCIS,                        )
                                       )
            Defendant.                 )

                          MEMORANDUM AND ORDER

      This matter is before the Court on defendant Robert Francis’s Rule 41(e)

Motion for Return of Property. Having fully reviewed the briefs and evidence

presented by the parties, I will deny the relief he seeks. Although Francis claims he

was not given notice of the administrative forfeiture action, the government’s

evidence shows that notice was sent to all of Mr. Francis’s known addresses and

was published in a newspaper of national circulation. It was also provided to an

attorney who the government believed represented Mr. Francis.

      Mr. Francis argues that he was incarcerated at the time of the notices, but this

is not true. Multiple notices were sent out in January of 2001, and Mr. Francis was

not arrested until March of 2001. Additionally, he claims that the government could

have known that the attorney in question represented his brother, not him, by

looking at the docket sheet in this case, but that is also incorrect. The Rosenblum
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firm did not first appear in this case for Anthony Francis until after the January 9,

2001 letters were sent out, including the one sent in care of Mr. Rosenblum.

       Defendant was a fugitive and was not in custody when all of these letters

were sent to him at his last known addresses. He was a fugitive and was not in

custody when notice was published. The government took all steps necessary to

provide proper notice, and defendant has shown no reason to set aside the proper

and final forfeiture.

       Accordingly,

       IT IS HEREBY ORDERED that the Rule 41(e) motion filed by Robert

Francis [#677] is denied.




                                        ______________________________
                                        CATHERINE D. PERRY
                                        UNITED STATES DISTRICT JUDGE

Dated this 22nd day of November, 2005.




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